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                                                                                                                Filed
                                                                                                7/31 /2017 9:55 PM
                                                                                                  Esther Degollado
                                                                                                       District Clerk
                                                                                                      Webb District
                                                                                               Esmeralda Alvarado
                                         CAUSE NO.                                             2017 CVH001528 D4

     MARCO RAMOS                                    §        IN THE DISTRICT COURT OF
         Plaintiff ,;                               §
                                                    §
     v.                                             §
                                                    §        WEBB COUNTY, TEXAS
     ALLSTATE VEHICLE AND PROPERTY                  §
     INSURANCE COMPANY AND MARIO                    §
     CAPMANY                                        §
          Defendants.                               §                JUDICIAL DISTRICT

                              PLAINTIFF’ S ORIGINAL PETITION

             Marco Ramos (“ Plaintiff ’), complains of Allstate Vehicle and Property Insurance

Company and Mario Capmany (collectively “ Defendants” ) and respectfully shows as follows:

                                            I.
                                 DISCOVERY CONTROL PLAN

1.        Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas

Rules of Civil Procedure. This case involves complex issues and will require extensive discovery.

Therefore, Plaintiff asks the court to order that discovery be conducted in accordance with a

discovery control plan tailored to the circumstances of this suit.

                                           II.
                              PARTIES AND PROCESS SERVICE

2.        Plaintiff(s) resides in Webb County, Texas.

3.        Defendant Allstate Vehicle and Property Insurance Company (“ Allstate” ) is an insurance

company engaging in the business of insurance in Texas. This defendant may be served with

process through its registered agent C T Corporation System, 1999 Bryan St . Suite 900, Dallas. TX

75201 -3136.

4.        Defendant Mario Capmany (“ Capmany” ) is an individual and an insurance adjuster

licensed by the Texas Department of Insurance. This Defendant is a Texas resident and may be




                                                                                                EXHIBIT
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served with process at the following address: P . O. Box 672041, Dallas, TX 75267. The Cleric is

requested to issue Citations.

                                              III.
                                         JURISDICTION

5.      Plaintiff seeks monetary relief over $100, 000.00 but not more than $200,000.00, excluding

interest and costs. Such damages sought are within the jurisdictional limits of the court. Plaintiff

contends that the determination of damages is within the sole discretion of the Judge and Jury, but

makes stipulation as required by TEX.R.CIV.P. 47.

 6.    The court has jurisdiction over Defendant Allstate because this Defendant engages in the

business of insurance in Texas, and because Plaintiff’ s causes of action arise out of this

Defendant’ s business activities in Texas.

 7.    The court has jurisdiction over Defendant Capmany because this Defendant is a Texas

resident, because this Defendant engages in the business of adjusting insurance claims in Texas,

and because Plaintiff’s causes of action arise out of this Defendant’ s business activities in Texas.

                                               IV.
                                              VENUE

 8.     Venue is proper in Webb County, Texas, because the insured property giving rise to this

cause of action is situated in Webb County, Texas. TEX .CIV. PRAC. REM . CODE §15.032.
                                        V.
                         NOTICE AND CONDITIONS PRECEDENT

 9.    Defendants have been provided notice, in writing, of the claims made by Plaintiff in this

petition, including Plaintiffs actual damages in the manner and form required.

10.    All conditions precedent necessary to maintain this action and the Claim under the Policy

have been performed, occurred , or have been waived by Defendants; and /or Defendants are




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otherwise estopped from raising any conditions precedent due to Defendant’s prior breach of the

insurance contract.

                                               VI.
                                             FACTS

11 .   Plaintiff is the owner of certain real property with improvement ( including Plaintiffs

home) located at 105 Redford Drive., Laredo, TX 78045 (the “ Property ” ). The Property was

insured by insurance policy number 000838103708, issued by Defendant Allstate (the “ Policy” ).

Plaintiff is the owner of the Policy and the named insured on the Policy.

12.    On or about 2/19/2017, or another time when the Policy was in effect, a severe storm caused

substantial damage to the Property and constituted a covered loss under the Policy. After the loss,

Plaintiff made a claim (claim no. 0449998416) and demand for payment on Defendant Allstate for

damages to the Property and other damages covered by the terms of the Policy (the “ Claim ” ).

After Plaintiff made the Claim , Defendant Allstate assigned or otherwise retained its employees

and/or agents Defendant Capmany to work on Plaintiffs Claim . All Defendants failed to comply

with the Policy, the Texas Insurance Code and Texas law in handling Plaintiffs claim . Further,

Defendant Allstate has refused to pay all amounts due and owing under the Policy for the Claim .

13.    Defendant Capmany made numerous errors in estimating the value of Plaintiff s claim, all

of which were designed to intentionally minimize and underpay the loss incurred by Plaintiff.

Defendants Capmany failed to fully quantify Plaintiffs damages, thus demonstrating that this

defendant did not conduct a thorough investigation of Plaintiffs claim . Defendant conducted a

substandard investigation of Plaintiffs Claim , evidenced by the estimate issued by Defendant

Capmany and relied upon by Defendant Capmany. The damage estimate failed to include all

damages to Plaintiffs Property. The damages Defendant Capmany included in the estimate were

grossly undervalued and did not allow for adequate funds to cover the cost of repairs to all the

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damages sustained . Defendants failed to thoroughly review and properly supervise the adjustment

of the Claim , including the inspection of the Property, which ultimately led to approving an

improper adjustment and an inadequately unfair settlement of Plaintiff s claim . Further, Defendant

Capmany knowingly and intentionally overlooked damages at the Property and used an inadequate

and biased investigation as the basis for erroneously denying a portion of Plaintiff’s claim .

Because of Defendant Capmany’ s conduct, Plaintiffs claim was underpaid and partially-denied ,

14 .   Defendant Allstate failed to perform its contractual duties to adequately compensate

Plaintiff under the terms of the Policy. Specifically, Defendant Allstate refused to pay the full

proceeds owed under the Policy, although due demand was made for proceeds to be paid in an

amount sufficient to cover the damaged property and all conditions precedent to recovery upon the

Policy in question had been satisfied by Plaintiff. Defendant Allstate’ s conduct constitutes a

breach of the contract between Defendant Allstate and Plaintiff.

15.    All Defendants misrepresented to Plaintiff that much of the damage to the Property was

not covered under the Policy, even though the damage was covered by the Policy . Defendants’

conduct constitutes a violation of TEX . INS . CODE § 541.060(a)(1).

16.    All Defendants failed to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of Plaintiffs Claim, when Allstate’s liability was reasonably clear. Defendants’

conduct constitutes a violation of TEX.lNS.CODE §541.060(a)(2)(a).

17 .    All Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation , without any

explanation why full payment was not being made.             Furthermore, All Defendants did not

communicate that any future settlements or payments would be forthcoming to pay for the entire

loss covered under the Policy, nor did Defendants provide any explanation for the failure to



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adequately settle Plaintiffs claim . Defendants’ conduct constitutes a violation of TEX.lNS.CODE

§541.060(a)(3) .

18.    All Defendants failed to affirm or deny coverage of Plaintiffs claim within a reasonable

time. Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding

the full and entire claims, in writing from Defendants. Defendants’ conduct constitutes a violation

of TEX.INS.CODE §541.060(a)(4) .

19.    All Defendants refused to fully compensate Plaintiff for the Claim without conducting a

reasonable investigation of the Claim . Rather, Defendants performed an unreasonable outcome-

oriented investigation of Plaintiffs claim, which resulted in a biased , unfair and inequitable

evaluation of Plaintiffs Claim . Defendants’ conduct constitutes a violation of TEX.lNS.CODE

§541.060(a)(7).

20.    Defendant Allstate failed to meet its obligations under the Texas Insurance Code regarding

the timely acknowledgement of Plaintiff s claim, beginning an investigation of Plaintiff s claim

and requesting all information reasonably necessary to investigate Plaintiffs claim within the

statutorily mandated time of receiving notice of Plaintiffs claim . Defendant Allstate’ s conduct

constitutes a violation of TEX.lNS.CODE §542.055.

21 .   Defendant Allstate failed to accept or deny Plaintiffs full and entire Claim within the

statutorily mandated time of receiving all necessary information. Defendant Allstate’ s conduct

constitutes a violation of TEX.INS.CODE §542.056.

22.    Defendant Allstate failed to meet its obligations under the Texas Insurance Code regarding

payment of claims without delay. Specifically, Defendant Allstate has delayed full payment of

Plaintiff s claim longer than allowed and, to date, Plaintiff has not yet received full payment for

Plaintiffs claim . Defendant Allstate’ s conduct constitutes a violation of TEX.lNS.CODE §541.058.


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23.       From and after the time Plaintiffs claim was presented to Defendant Allstate, the liability

of Defendant Allstate to pay the full claims in accordance with the terms of the Policy was

reasonably clear. However, Defendant Allstate has refused to pay Plaintiff in full, despite there

being no basis whatsoever on which a reasonable insurance company would have relied on to deny

the full payment. Defendant Allstate’s conduct constitutes a breach of the common law duty of

good faith and fair dealing.

24.       All Defendants knowingly or recklessly made false representations, as described above, as

to material facts and /or knowingly concealed material information from Plaintiff.

25.       Because of all Defendants’ wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the law firm who is representing Plaintiff with respect to these causes of

action.

                                                 VII.
                 CAUSES OF ACTION AGAINST DEFENDANT ALLSTATE

26.       Defendant Allstate is liable to Plaintiff for intentional breach of contract, as well as

intentional violations of the Texas Insurance Code and intentional breach of the common law duty

of good faith and fair dealing.

          A.     Breach of Contract.

27.       The Policy is a valid, binding and enforceable contract between Plaintiff and Defendant

Allstate. Defendant Allstate breached the contract by refusing to perform its obligations under the

terms of the Policy and pursuant to Texas law. Defendant Allstate’s breach proximately caused

Plaintiff injuries and damages. All conditions precedent required under the Policy have been

performed, excused, waived or otherwise satisfied by Plaintiff, or Defendant is estopped from

raising the issue due to Defendant ’ s prior breach of the insurance contract.

          B.     Noncompliance With Texas Insurance Code: Unfair Settlement Practices.

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28.     The conduct, acts, and /or omissions by Defendant Allstate constituted Unfair Settlement

Practices pursuant to TEX. INS. CODE.§541.060(a). AH violations under this article are made

actionable by TEX.INS. CODE §541.151.

29.     Defendant Allstate ’ s unfair settlement practice, as described above, of misrepresenting to

Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance.              TEX.INS.CODE

§541.060(1).

30.     Defendant Allstate’ s unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

Defendant Allstate’ s liability under the Policy was reasonably clear, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance.

TEX.INS.CODE §541.060(2)(A).

31.     Defendant Allstate’ s unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or

applicable law, for its offer of a compromise settlement of the claim , constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS.CODE §541.060(3).

32.     Defendant Allstate’ s unfair settlement practice, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX.lNS.CODE §541.060(4).

33.     Defendant Allstate’s unfair settlement practice, as described above, of refusing to pay

Plaintiffs claim without conducting a reasonable investigation , constitutes an unfair method of

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competition and an unfair and deceptive act or practice in the business of insurance. TEX.lNS.CODE

§541.060(7).

34.     Defendant Allstate’ s conduct described above compelled Plaintiff to initiate a lawsuit to

recover amounts due under its policy by offering substantially less than the amount ultimately

recovered . Defendant Allstate refused to even offer     more than its own. grossly undervalued
estimates despite actual damages which were much greater. This continued failure compelled

Plaintiff to file suit. TEX.lNS.CODE §542.003(5).

       C.      Prompt Payment Of Claims Violations.

35.    The Claim is a claim under an insurance policy with Defendant Allstate of which Plaintiff

gave Defendant Allstate proper notice. Defendant Allstate is liable for the Claim . Defendant

Allstate violated the prompt payment of claims provisions ofTEX. INS. CODE § 542.051, etseq. by:

       a) Failing to acknowledge receipt of the Claim, commence investigation of the Claim,
          and/or request from Plaintiff all items, statements, and forms that Defendant Allstate
          reasonably believed would be required within the time constraints provided by TEX.
          INS. CODE §542.055,  -
       b) Failing to notify Plaintiff in writing of its acceptance or rejection of the Claim within
          the applicable time constraints provided by TEX. INS. CODE §542.056; and/or by

       c) Delaying payment of the Claim following Defendant Allstate’ s receipt of all items,
          statements, and forms reasonably requested and required, longer than the amount of
          time provided by TEX. INS. CODE §542.058.

36.    Defendant Allstate’s violations of these prompt payment of claims provisions of the Texas

Insurance Code are made actionable by TEX. lNS.CODE §542.060.

       D.      Breach Of The Duty Of Good Faith And Fair Dealing.

37.    Defendant Allstate breached the common law duty of good faith and fair dealing owed to

Plaintiff by denying or delaying payment on the Claim when Defendant Allstate knew or should




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have known that its liability to Plaintiff was reasonably clear. Defendant Allstate’s conduct

 proximateiy caused Plaintiff injuries and damages.

                                            VIII     .
                                 CAUSES OF ACTION AGAINST
                                   DEFENDANT CAPMANY

38.     Defendant Capmany is an insurance adjuster that was assigned or otherwise engaged by

Capmany to adjust the claim .

        A.      Noncompliance With Texas Insurance Code: Unfair Settlement Practices.

39.     The conduct, acts, and /or omissions by Defendant Capmany, while adjusting the Claim

constituted Unfair Settlement Practices pursuant to TEX. INS. CODE.§541.060(a). AH violations

under this article are made actionable by TEX .lNS . CODE §541.151.

40.     Defendant Capmany is individually liable for unfair and deceptive acts, irrespective of the

fact this Defendant was acting on behalf of Defendant Capmany, because Defendant Capmany is

a “ person” as defined by TEX. lNS .CODE §541.002(2). The term “ person” is defined as “ any

individual, corporation, association, partnership, reciprocal or interinsurance exchange, Lloyds

plan, fraternal benefit society, or other legal entity engaged in the business of insurance, including

an agent, broker, adjuster or life and health insurance counselor.” TEX . lNS. CODE §541.002(2)
(emphasis added ). (See also Liberty Mutual Insurance Co. v. Garrison Contractors, Inc., 966

S. W .2d 482, 484 (Tex.l 998)(holding an insurance company employee to be a “ person” for the

purpose of bringing a cause of action against them under the Texas Insurance Code and subjecting

them to individual liability).

41 .   The unfair settlement practices of Defendant Capmany, as described above, in

misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair




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method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX.lNS.CODE §541.060( 1 ) .

42 .   The unfair settlement practices of Defendant Capmany, as described above, in failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance . TEX. lNS. CODE §541.060(2)(A).

43.    The unfair settlement practices of Defendant Capmany, as described above, in failing to

promptly provide the Plaintiff with a reasonable explanation of the basis in the Policy, in relation

to the facts or applicable law, for the offer of a compromise settlement of Plaintiffs claim,

constitutes an unfair method of competition and an unfair and deceptive act or practice in the

business of insurance. TEX. iNS. CODE §541.060(3).

44.    The unfair settlement practices of Defendant Capmany as described above, in failing within

a reasonable time to affirm or deny coverage of the claim to Plaintiff or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX.lNS.CODE §541.060(4).

45.    The unfair settlement practices of Defendant Capmany, as described above, in refusing to

pay Plaintiffs claim without conducting a reasonable investigation, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance.

TEX . lNS.CODE §541.060(7).

46.    The unfair settlement practices of Defendant Capmany, as described above, compelled

Plaintiff to initiate a lawsuit to recover amounts due under its policy by offering substantially less

than the amount ultimately recovered . Defendant Capmany refused to even offer more than their




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own grossly undervalued estimates despite actual damages which were much greater. This
continued failure compelled Plaintiff to file suit. TEX.lNS.CODE §542.003(5).

                                             IX.
                                          KNOWLEDGE

 47.   Each of the Defendants’ acts described above; together and singularly, was done

“ knowingly ” as that term is used in the Texas Insurance Code and was a producing cause of

Plaintiffs damages described herein .

                                                X.
                                             DAMAGES

48 .   Plaintiff will show that all the aforementioned acts, taken together or singularly, constitute

the producing causes of the damages sustained by Plaintiff.

49.    For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff s bargain , which

is the amount of Plaintiffs claim , together with attorney fees.

50.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the Policy , mental anguish, court costs and attorney’ s fees. For knowing conduct of

the acts complained of, Plaintiff asks for three times Plaintiffs actual damages. TEX.lNS.CODE

§541.152.

51 .   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of Plaintiffs claim , as well as eighteen (18) percent interest per annum of

the amount of Plaintiff s claim as damages, together with attorney’ s fees. TEX.INS.CODE §542.060.

52.    For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer’ s breach of duty,




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such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages and damages for emotional distress.

53.    For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

services of the law firms whose names are subscribed to this pleading. Therefore, Plaintiff is

entitled to recover a sum for the reasonable and necessary services of Plaintiffs attorneys in the

preparation and trial of this action, including any appeals to the Court of Appeals and /or the

Supreme Court of Texas.

                                              XI.
                                         JURY DEMAND

54.    Plaintiff hereby requests a jury trial and tenders the appropriate jury fee.

                                                XII.
                                 REQUEST FOR DISCLOSURE

55.    Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendants disclose

the information or material described in Rule 194.2.

                                                XIII.
                                              PRAYER

56.     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof,

Plaintiff has and recovers such sums as would reasonably and justly compensate Plaintiff in

accordance with the rules of law and procedure, both as to actual damages, statutory penalties and

interest, treble damages under the Texas Insurance Code and all punitive and exemplary damages

as may be found . In addition, Plaintiff requests the award of attorney’ s fees for the trial and any

appeal of this case, for all costs of Court on their behalf expended, for pre-judgment and post¬

judgment interest as allowed by law, and for any other and further relief, either at law or in equity,

to which Plaintiff may be justly entitled .

                                               Respectfully submitted,

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                                             GREEN & BARTON

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                                                                                            August 07, 2017

                             CAUSE NO . :      2017 CVH001528D4

                                  STYLE :      MARCO RAMOS

                                               VS

                                               ALLSTATE VEHICLE AND PROPERTY INSURANCE
  COMPANY: MARIO CAPMANY


      Please take NOTICE that this case is set for CALENDAR CALL on 10 / 10 / 2017
  at 2 :00 PM at the 406th District Court , 4th Floor, Webb County Justice Center .

      All Calendar Call hearings will be in open court and on the record before the Honorable Judge
  Oscar J . Hale , Jr . Your presence is MANDATORY unless Counsel for Plaintiff(s) and Defendant(s)
  file a Joint Pre-Trial Guideline Order (PTGO) with all counsel signatures on the PTGO.

     You may download the PTGO at our website: www . Webbcountytx . gov / DC406th / Forms

     Counsel for Plaintiffs) please note that if you fail to appear your case may be dismissed for lack of
  prosecution .

     Counsel for Defendant(s) please note that if you fail to appear for calendar call, a pre- trial
  guideline order may be entered with or without your approval and / or signature.

     If there are any questions regarding this matter please feel free to call our office at any time.




                                                                     Cruz Maldonado
                                                                     Civil Court Coordinator
